      Case 3:20-cv-01790-VAB          Document 278          Filed 02/24/25    Page 1 of 4




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 RALPH BIRCH                                            :     3:20-cv-01790-VAB
                                    Plaintiff           :
                                                        :
 v.                                                     :
                                                        :
 TOWN OF NEW MILFORD, ET AL                             :
                                                        :
                                    Defendants          :
                                                        :
                                                        :
                                                        :     FEBRUARY 24, 2025


                     REQUEST FOR CONTINUANCE OF PRETRIAL

       Defendants, Town of New Milford, Steven Jordan and the Estate of David Shortt, through

counsel, move for a continuance of the Pretrial scheduled for February 26, 2025 to March 3,

2025. Counsel for Defendants is on trial at the New Haven Superior Court in the matter of Stearns

v. The Greens Association (Doc. #NNH-CV22-61020395-S).

       Counsel for Plaintiff consents to the requested adjournment in light of defense counsel's

schedule, while respectfully noting that the Court's ruling concerning the motion in limine at ECF

No. 271 would be helpful at the Court's earliest opportunity, as it affects the travel plans of

numerous expert witnesses.

       WHEREFORE, Defendants respectfully request that the continuance be granted and the

February 26, 2025 pretrial be adjourned to March 3, 2025.




                                                    1
Case 3:20-cv-01790-VAB   Document 278    Filed 02/24/25   Page 2 of 4




E

                             DEFENDANTS, NEW MILFORD, STEVEN
                             JORDAN and THE ESTATE OF DAVID SHORTT


                             By: /s/
                             Jeffrey O. McDonald, Esq.
                             Federal Bar #ct28195
                             Hassett & George, P.C.
                             945 Hopmeadow Drive
                             Simsbury, CT 06070
                             (860) 651-1333
                             jmcdonald@hgesq.com




                                   2
       Case 3:20-cv-01790-VAB           Document 278         Filed 02/24/25     Page 3 of 4




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 RALPH BIRCH                                             :     3:20-cv-01790-VAB
                                      Plaintiff          :
                                                         :
 v.                                                      :
                                                         :
 TOWN OF NEW MILFORD, ET AL                              :
                          Defendants                     :
                                                         :
                                                         :
                                                         :
                                                         :     FEBRUARY 24, 2025


                                     CERTIFICATE OF SERVICE

        I hereby certify that on the date first above a copy of the foregoing TOWN
DEFENDANTS’ REQUEST TO CONTINUANCE OF THE PRETRIAL was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing. Parties may access this filing through the Court’s
system.


                                                              BY /s/
                                                              Jeffrey O. McDonald
                                                              Federal Bar #ct28195
                                                              Hassett & George, P.C.
                                                              945 Hopmeadow Drive
                                                              Simsbury, CT 06070
                                                              (860) 651-1333
                                                              jmcdonald@hgesq.com




                                                     3
         Case 3:20-cv-01790-VAB                      Document 278              Filed 02/24/25             Page 4 of 4



S:\Insurance Defense\CIRMA\Birch v. New Milford\NewMilford.Birch-Henning\Pleadings - Birch\pleadings\DOCs\2021\Request for

Continuance of Pretrial.docx




                                                                       4
